




Becker v. State



COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS





IN RE:  PINDOME CORPORATION,


                      Relator.
§


 


§


 


§


 


§


 


§


 


 § 


No. 08-03-00038-CV



An Original Proceeding 


in Mandamus







OPINION ON PETITION FOR WRIT OF MANDAMUS


	This is an original proceeding in mandamus arising out of a motion for new trial
granted by the Honorable Linda Chew, Judge of the 327th District Court of El Paso
County.  Pindome Corporation, relator, obtained a default judgment against Triad
Hospitals, Inc. and HCA, Inc., but the trial court subsequently granted a motion for new
trial.  Pindome seeks a writ of mandamus requiring the trial court to set aside that order
because the court's plenary power had expired.  The real parties in interest have filed a
motion to consolidate this mandamus proceeding with a restricted appeal related to the
default judgment.  For the reasons stated below, we deny mandamus relief and deny the
motion to consolidate as moot.

STANDARD OF REVIEW


	Mandamus will lie only to correct a clear abuse of discretion.  Walker v. Packer,
827 S.W.2d 833, 840 (Tex. 1992) (orig. proceeding).  Moreover, there must be no other
adequate remedy at law.  Id.

1.  Clear abuse of discretion

	An appellate court rarely interferes with a trial court's exercise of discretion.  A
clear abuse of discretion warranting correction by mandamus occurs when a court issues a
decision which is without basis or guiding principles of law.  See Johnson v. Fourth
Court of Appeals, 700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding).  With respect to
resolution of factual issues or matters committed to the trial court's discretion, the
reviewing court may not substitute its judgment for that of the trial court.  Walker, 827
S.W.2d at 839-40.  The relator must therefore establish that the trial court could
reasonably have reached only one decision.  Id. at 840.  Even if the reviewing court would
have decided the issue differently, it cannot disturb the trial court's decision unless it is
shown to be arbitrary and unreasonable.  Id.  With respect to a trial court's determination
of the legal principles controlling its ruling, the standard is much less deferential.  A trial
court has no "discretion" in determining what the law is or applying the law to the facts. 
Thus, a clear failure by the trial court to analyze or apply the law correctly will constitute
an abuse of discretion, and may result in appellate reversal by extraordinary writ.  Walker,
827 S.W.2d at 840.

2.  No adequate remedy by appeal

	An appellate court will deny mandamus relief if another remedy, usually appeal, is
available and adequate.  Street v. Second Court of Appeals, 715 S.W.2d 638, 639-40 (Tex.
1986) (orig. proceeding).  Mandamus will not issue where there is "'a clear and adequate
remedy at law, such as a normal appeal.'"  Walker, 827 S.W.2d at 840 (quoting State v.
Walker, 679 S.W.2d 484, 485 (Tex. 1984)).  Mandamus is intended to be an extraordinary
remedy, available only in limited circumstances.  The writ will issue "'only in situations
involving manifest and urgent necessity and not for grievances that may be addressed by
other remedies.'"  Holloway v. Fifth Court of Appeals, 767 S.W.2d 680, 684 (Tex. 1989)
(quoting James Sales, Original Jurisdiction of the Supreme Court and the Courts of Civil
Appeals of Texas in Appellate Procedure in Texas, Sec. 1.4(1)(b) at 47 [2d Ed. 1979]).

APPLICATION OF THE LAW TO THE FACTS BEFORE THE COURT


	The record before us does not reflect that the trial court clearly abused its
discretion by granting the motion for new trial.  Accordingly, we deny the relief requested
in the petition for mandamus. (1)  Further, the motion to consolidate is denied as moot.


						SUSAN LARSEN, Justice

March 6, 2003


Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.
1. The denial of mandamus relief effectively renders the restricted appeal moot.  Ordinarily,
this Court would dismiss the restricted appeal.  However, that action could potentially impair the
rights of Triad and HCA to pursue the restricted appeal in the event that Pindome successfully
obtains review of the decision denying mandamus relief.  On the other hand, the trial court will
not be permitted to take any action in the underlying case until the appeal has been dismissed and
our mandate has issued.  Rather than immediately dismissing the restricted appeal, we will allow
it to remain pending on our docket until any challenges to our denial of mandamus relief have
been resolved or until Triad and HCA have filed a motion to dismiss.


